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1                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
2                                 SAN FRANCISCO DIVISION
3
     FEDERAL TRADE COMMISSION,
4
                Plaintiff,
5
           v.                                Case No. 3:23-cv-01710-AMO
6
     INTERCONTINENTAL                        [PROPOSED] REVISED SCHEDULING
7    EXCHANGE, INC.,                         ORDER
8    and                                     Judge:   Hon. Araceli Martínez-Olguín
9    BLACK KNIGHT, INC.,
10              Defendants.
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         Deadline to file motions for in camera treatment of       August 7, 2023
1        proposed hearing exhibits.
2        Deadline to file responses to motions for in camera
         treatment of any proposed hearing exhibits not            August 8, 2023
3        covered by previous in camera motions.
         Pre-hearing conference                                    August 9, 2023 at 11:00 a.m.
4        Evidentiary hearing on Plaintiff’s Motion
5        begins. The parties will cross-examine witnesses,         August 14 at 9:00 a.m.
         as well as redirect them.1 The parties are limited to
6        8 hours per side.
         Deadline to submit post-hearing proposed findings
7        of fact and conclusions of law. Each side’s post-
                                                                   August 21, 2023
         hearing proposed findings of fact and conclusions
8        of law shall not exceed 75 pages.
9

10   IT IS SO ORDERED.

11
     Dated: ___________________, 2023                            _____________________________
12                                                               Honorable Araceli Martínez-Olguín
                                                                 United States District Judge
13
                                                                 Northern District of California
14   Dated July 19, 2023
15

16   FEDERAL TRADE COMMISSION                            SUSMAN GODFREY L.L.P.
17

18   By: /s/ Abby L. Dennis            ___               By: /s/ Kalpana Srinivasan         ______
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      Based on the Court’s statements during the June 23, 2023, status conference that the parties “can
24   use [their] eight hours however best [they] need it” (Hr’g Tr. 14:10-11), Defendants may elect to
     use a portion of their time to conduct short direct examinations for some witnesses. Based on the
25   Court’s subsequent minute order limiting live direct testimony to witnesses for whom the “parties
     could not secure declarations,” the FTC objects to Defendants’ proposed direct examination of
26
     witnesses who submitted declarations. ECF 154. The parties further explain their positions in the
27   July 14, 2023 joint statement. ECF 266.

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                                             Attorneys for Defendant
2                                            Black Knight, Inc.

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1               FILER’S ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1

2           I, Abby Dennis, am the ECF User whose ID and password are being used to file the

3    foregoing. In compliance with Civil Local Rule 5-1(h)(3), I attest that the other signatories

4    concurred in this filing, and I shall maintain records to support this concurrence for subsequent

5    production for the Court if so ordered or for inspection upon request by a party.

6

7    Dated: July 19, 2023                                 /s/ DRAFT

8                                                         Abby L. Dennis

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